                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

  In re:                                                 Chapter 11

  PINEY WOODS RESOURCES, INC.,                           Case No. 19-01390-DSC-11

                    Debtor.
  Tax I.D. No. XX-XXXXXXX

  In re:                                                 Chapter 11

  JESSE CREEK MINING, LLC,                               Case No. 19—01394-DSC-11

                    Debtor.
  Tax I.D. No. XX-XXXXXXX

                     DEBTORS’ MOTION FOR ENTRY OF AN ORDER
           (I) DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES AND
                           (II) GRANTING RELATED RELIEF


           Piney Woods Resources, Inc., and its debtor affiliate, Jesse Creek Mining, LLC, as debtors

 and debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”),

 respectfully state the following in support of this motion for entry of an order (i) directing joint

 administration of the Debtors’ chapter 11 cases and (ii) granting related relief (“Motion”):

                                           Relief Requested
           1.     The Debtors seek entry of an order (the “Order”), substantially in the form attached

 hereto as Exhibit A: (a) directing procedural consolidation and joint administration of these

 chapter 11 cases; and (b) granting related relief. The Debtors request that one file and one docket

 be maintained for all of the jointly administered cases under the case of Piney Woods Resources,

 Inc. (the ultimate parent company for each of the Debtors) and that the cases be administered under

 a consolidated caption, as follows:




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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

   In re:                                                Chapter 11

   PINEY WOODS RESOURCES, INC., et al.,                  Case No. 19-01390-DSC-11

                        Debtors.                         (Jointly Administered)




        2.      The Debtors further request that this Court order that the foregoing caption satisfies

 the requirements set forth in section 342(c)(1) of the Bankruptcy Code.

        3.      The Debtors also request that a docket entry, substantially similar to the following,

 be entered on the docket of Jesse Creek Mining, LLC to reflect the joint administration of these

 chapter 11 cases: “An order has been entered in accordance with Rule 1015(b) of the Federal Rules

 of Bankruptcy Procedure directing joint administration for procedural purposes only of the chapter

 11 cases of Piney Woods Resources, Inc., Case No. 19-01390-DSC-11 and Jesse Creek Mining,

 LLC, Case No. 19-01394-DSC-11. The docket in Case No. 19-01390-DSC-11 should be

 consulted for all matters affecting this case.”

        4.      The United States Bankruptcy Court for the Northern District of Alabama (the

 “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the General

 Order of Reference from the United States District Court for the Northern District of Alabama,

 dated January 12, 1995. The Debtors confirm their consent, pursuant to rule 7008 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of a final order by the Court

 in connection with this Motion to the extent that it is later determined that the Court, absent consent



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 of the parties, cannot enter final orders or judgments in connection herewith consistent with Article

 III of the United States Constitution.

        5.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        6.      The bases for the relief requested herein are section 105(a) of the Bankruptcy Code

 and Bankruptcy Rule 1015(b).

                                            Background

        7.      The Debtors are engaged in the production and sale of metallurgical grade coal

 from a mining complex located in Shelby County, Alabama. Debtor Piney Woods Resources, Inc.

 is the parent company of Jesse Creek Mining, LLC. The Jesse Creek mining complex consists of

 a surface and highwall mining operation, a preparation plant, and an underground mine

 development project. Mining and development operations were idled on March 27, 2019.

        8.      On the Commencement Date, each Debtor filed a voluntary petition for relief under

 chapter 11 of the Bankruptcy Code. The Debtors are operating their business and managing their

 properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

 No request for the appointment of a trustee or examiner has been made in these chapter 11 cases,

 and no committees have been appointed or designated.

                                           Basis for Relief

        9.      Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

 petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

 order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The Debtor entities that

 commenced chapter 11 cases are “affiliates” as that term is defined in section 101(2) of the

 Bankruptcy Code. Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court

 to grant the relief requested herein.



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         10.      Joint administration is generally non-controversial, and courts in this jurisdiction

 and others routinely order joint administration in cases with multiple related debtors. See, e.g., In

 re Walter Energy, Inc., Case No. 15-02741 (TOM) (Bankr. N.D. Ala. July 15, 2015) (directing

 joint administration of chapter 11 cases); In re Bill Heard Enters., Inc., Case No. 08-83029 (JAC)

 (Bankr. N.D. Ala. Sept. 30, 2008) (same); In re Carraway Methodist Health Sys., Case No. 06-

 03501 (TOM) (Bankr. N.D. Ala. Sept. 19, 2006) (same); In re Mission Coal Company, LLC, Case

 No. 18-04177 (TOM) (Bankr. N.D. Ala. Oct. 16, 2018) (same); see also In re Westmoreland Coal

 Co., Case No. 18-35672 (DRJ) (Bankr. S.D. Tex. Oct. 9, 2018) (same); In re Armstrong Energy,

 Inc., Case No. 17-47541-659 (KSS) (Bankr. E.D. Mo. Nov. 2, 2017) (same).1

         11.      Given the integrated nature of the Debtors’ operations, joint administration of these

 chapter 11 cases will provide significant administrative convenience without harming the

 substantive rights of any party in interest. Many of the motions, hearings, and orders in these

 chapter 11 cases will affect each Debtor entity. The entry of an order directing joint administration

 of these chapter 11 cases will reduce fees and costs by avoiding duplicative filings and objections.

 Joint administration also will allow all parties in interest to monitor these chapter 11 cases with

 greater ease and efficiency.

         12.      Moreover, joint administration will not adversely affect the Debtors’ respective

 constituencies because this Motion seeks only administrative, not substantive, consolidation of the

 Debtors’ estates. Parties in interest will not be harmed by the relief requested; instead, parties in

 interest will benefit from the cost reductions associated with the joint administration of these

 chapter 11 cases. Accordingly, the Debtors submit that the joint administration of these chapter 11

 cases is in the best interests of their estates, their creditors, and all other parties in interest.


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         Many of the orders referenced in this paragraph are voluminous and, therefore, not attached to the Motion.
 They are publicly available or can be provided upon request to the Debtors’ proposed counsel.

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                                                 Notice

        13.     The Debtors will provide notice of this Motion to: (a) the Office of the Bankruptcy

 Administrator for the Northern District of Alabama; (b) the holders of the 50 largest unsecured

 claims against the Debtors (on a consolidated basis); (c) counsel to the lenders under the Debtors’

 debtor-in-possession credit agreement and prepetition first-lien credit agreements; (d) all other

 secured lenders; (e) equipment and real property lessors; (f) the United States Attorney’s Office

 for the Northern District of Alabama; (g) the United States Internal Revenue Service; (h) the

 Alabama Department of Revenue; (i) the United States Environmental Protection Agency; (j) the

 Alabama Surface Mining Commission; (k) the Alabama Department of Environmental

 Management; (l) the office of the attorneys general for the states in which the Debtors operate; and

 (m) any party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit

 that, in light of the nature of the relief requested, no other or further notice need be given.

                                          No Prior Request

        14.     No prior request for the relief sought in this Motion has been made to this or any

 other court.

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        WHEREFORE, the Debtors respectfully request that the Court enter the Order, granting

 the relief requested herein and such other relief as the Court deems appropriate under the

 circumstances.

 Birmingham, Alabama                      /s/Lee R. Benton_____________________
 Dated: 04/02/2019                        Lee R. Benton
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                                          – and –

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                                     Exhibit A


                                  Proposed Order




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                               UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF ALABAMA
                                       SOUTHERN DIVISION

     In re:                                                         Chapter 11

     PINEY WOODS RESOURCES, INC.,                                   Case No. 19-01390-DSC-11

                       Debtor.
     Tax I.D. No. XX-XXXXXXX

     In re:                                                         Chapter 11

     JESSE CREEK MINING, LLC,                                       Case No. 19-01394-DSC-11

                       Debtor.
     Tax I.D. No. XX-XXXXXXX


                      ORDER (I) DIRECTING JOINT ADMINISTRATION OF
                    CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF


              Upon the Motion1 of the above-captioned Debtors for entry of an order (this “Order”) (a)

 directing the joint administration of the Debtors’ chapter 11 cases for procedural purposes only

 and (b) granting related relief, all as more fully set forth in the Motion; and upon the First Day

 Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334 and the General Order of Reference from the United States District Court for the Northern

 District of Alabama, dated January 12, 1995; and this Court having found that this is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2); and that this Court may enter a final order consistent

 with Article III of the United States Constitution; and this Court having found that venue of this

 proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

 this Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on

 the Motion were appropriate under the circumstances and no other notice need be provided; and


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              Capitalized terms shall have the same meanings as defined in the Motion unless otherwise defined herein.

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 this Court having reviewed the Motion and having heard the statements in support of the relief

 requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

 that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

 the relief granted herein; and upon all of the proceedings had before this Court; and after due

 deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.      The Motion is granted as set forth herein.

        2.      The above-captioned chapter 11 cases are consolidated for procedural purposes

 only and shall be jointly administered by the Court under Case No. 19-01390-DSC-11

        3.      The caption of the jointly administered cases should read as follows:



                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

   In re:                                               Chapter 11

   PINEY WOODS RESOURCES, INC., et al.,                 Case No. 19-01390-DSC-11

                       Debtors.                         (Jointly Administered)




        4.      The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

 the Bankruptcy Code.

        5.      A docket entry, substantially similar to the following, be entered on the docket of

 Jesse Creek Mining, LLC to reflect the joint administration of these chapter 11 cases: “An order

 has been entered in accordance with Rule 1015(b) of the Federal Rules of Bankruptcy Procedure

 directing joint administration for procedural purposes only of the chapter 11 cases of Piney Woods



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 Resources, Inc., Case No. 19-01390-DSC-11 and Jesse Creek Mining, LLC, Case No. 19-01394-

 DSC-11. The docket in Case No. 19-01390-DSC-11 should be consulted for all matters

 affecting this case.”

        6.         The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

 for the Northern District of Alabama shall keep, one consolidated docket, one file, and one

 consolidated service list for these chapter 11 cases.

        7.         The Debtors are authorized to prepare and file their monthly operating reports on a

 consolidated basis.

        8.         Nothing contained in the Motion or this Order shall be deemed or construed as

 directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this Order

 shall be without prejudice to the rights of the Debtors to seek entry of an Order substantively

 consolidating their respective cases.

        9.         Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion and the requirements of Bankruptcy Rule 6004(a) are satisfied by such notice.

        10.        The terms and conditions of this Order are immediately effective and enforceable

 upon its entry.

        11.        The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Order in accordance with the Motion.

        12.        This Court retains jurisdiction with respect to all matters arising from or related to

 the implementation, interpretation, and enforcement of this Order.

 Dated: __________, 2019                          __________________________________________
 Birmingham, Alabama                              UNITED STATES BANKRUPTCY JUDGE




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